              Case 8:20-cr-00151-PWG Document 1 Filed 06/15/20 Page 1 of 6                      FILED
                                                                                        U.S. DISTRICT COURT
                                                                                       DISTRICT OF MARYLAND
EBP/JLW: USAO2019R00587
EBP/JL
                                                                                             6/15/2020
                                                                                            CLERK’S OFFICE
                          IN THE UNITED STATES DISTRICT COURT                               AT GREENBELT
                             FOR THE DISTRICT OF MARYLAND                                BY KN, DEPUTY CLERK

 UNITED STATES OF AMERICA                         *
                                                  *
          v.                                      * CRIMINAL NO. PWG 20-cr-0151
                                                  *
 MICHAEL BARRY CARTER,                            * (Wire Fraud, 18 U.S.C. § 1343;
                                                  * Investment Adviser Fraud, 15 U.S.C.
                   Defendant                      * §§ 80b-6 and 80b-17; Forfeiture, 18
                                                  * U.S.C. § 982, 21 U.S.C. § 853(p), 28
                                                  * U.S.C. § 2461(c))
                                                  *
                                               *******

                                          INFORMATION

                                            COUNT ONE
                                            (Wire Fraud)

         The United States Attorney for the District of Maryland charges that:

         At all times relevant to this Information:

                                             Introduction

         1.       Financial Institution 1 was a multinational investment bank and financial services

company.

         2.       Defendant MICHAEL BARRY CARTER (“CARTER”) was employed by

Financial Institution 1 as a financial advisor in the wealth management segment. CARTER was

registered to sell securities and act as an investment adviser in the State of Maryland and the

Commonwealth of Virginia. In his capacity as a financial advisor, CARTER’s responsibilities

included, among other things, managing the investment accounts for clients of Financial

Institution 1 and providing those clients with advice regarding investments in securities.
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       3.      CARTER had signatory authority and control over a Wells Fargo Bank account

ending in 3095 in CARTER’s name (“the CARTER 3095 Account”) and a Wells Fargo Bank

account ending in 4508 in CARTER’s name (“the CARTER 4508 Account”).

       4.      Victim 1 was a resident of Maryland.

       5.      Victim 1 through Victim 5 were clients at Financial Institution 1 who maintained

investment accounts with Financial Institution 1’s wealth management segment (collectively,

“the Victim Accounts”). The Victim Accounts contained a mix of assets, including securities and

cash deposits, and collectively held, at various times, millions of dollars in assets. The Victim

Accounts were held by a subsidiary of Financial Institution 1 that was registered with the

Securities and Exchange Commission as a broker-dealer and investment adviser. The cash

deposits in the Victim Accounts were held by one or more subsidiaries of Financial Institution 1,

the deposits of which were insured by the Federal Deposit Insurance Corporation.

       6.      During the course of his employment with Financial Institution 1, CARTER

managed and had authority over the Victim Accounts. As a financial advisor, CARTER was

required to, among other things, manage the Victim Accounts in the best interests of his clients,

consistent with their investment objectives, and not for his own personal benefit.

                                     The Scheme to Defraud

       7.      From at least in or about October 2007 to at least in or about July 2019, in the

District of Maryland and elsewhere, CARTER devised and intended to devise a scheme and

artifice to defraud Financial Institution 1, and to obtain money and property from Financial

Institution 1 and Victims 1 through 5 by means of materially false and fraudulent pretenses,

representations, and promises, with the intent to defraud and with knowledge of the scheme’s

fraudulent nature (“the scheme to defraud”).




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                        Manner and Means of the Scheme to Defraud

       It was part of the scheme to defraud that:

       8.      CARTER made unauthorized transfers of money from the Victim Accounts.

       9.      CARTER caused the submission of internal bank authorization forms from

Financial Institution 1 that falsely stated that CARTER had received verbal client instructions

from the victims authorizing monetary transfers at a specific time and date.

       10.     CARTER caused the unauthorized wire transfers to be sent from the Victim

Accounts to the CARTER 3095 Account.

       11.     CARTER transferred the stolen funds from the CARTER 3095 Account to the

CARTER 4508 Account.

       12.     CARTER used the money that he stole from Victim 1 through 5 to pay for

numerous lifestyle expenses, including CARTER’s mortgage, credit card bills, and country club

membership fees.

                                          The Charge

       13.     On or about December 12, 2017, in the District of Maryland and elsewhere, the

defendant,

                                MICHAEL BARRY CARTER,

for the purpose of executing and attempting to execute the scheme to defraud, did knowingly

transmit and cause to be transmitted by means of wire communication, in interstate and foreign

commerce, writings, signs, signals, pictures, and sounds, that is, CARTER transmitted and

caused to be transmitted a $470,000 wire communication from Victim 1’s bank account located

in Maryland to the CARTER 3095 Account located outside of Maryland.


18 U.S.C. § 1343
18 U.S.C. § 2


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                                          COUNT TWO
                                   (Investment Adviser Fraud)

       The United States Attorney for the District of Maryland further charges that:

       1.      Paragraphs 1 through 12 of this Information are incorporated here.

       2.      From at least in or about October 2007 and up to and including at least July 2019,

in the District of Maryland and elsewhere, the defendant,

                                 MICHAEL BARRY CARTER,

acting as an investment adviser with respect to certain clients of Financial Institution 1,

knowingly, willfully, and with the intent to defraud, used the mails and other means and

instrumentalities of interstate commerce, directly and indirectly, (a) to employ a device, scheme,

and artifice to defraud a client; (b) to engage in a transaction, practice, and course of business

which operated as a fraud and deceit upon a client; and (c) to engage in an act, practice, and

course of business which was fraudulent, deceptive, and manipulative, that is, CARTER, while

an investment adviser at Financial Institution 1, engaged in a scheme to defraud Financial

Institution 1’s clients whose accounts CARTER managed by making unauthorized transfers of

money from the clients’ accounts for CARTER’s personal benefit, and in the course of

executing such scheme, caused interstate wires to be transmitted to, from, and through the

District of Maryland.


15 U.S.C. § 80b-6
15 U.S.C. § 80b-17




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                                 FORFEITURE ALLEGATION

       The United States Attorney for the District of Maryland further finds that:

       1.      Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendant that the

United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C.

§ 982(a)(2) and 21 U.S.C. § 853(p), in the event of the defendant’s conviction under Count One

of this Information.

                                      Wire Fraud Forfeiture

       2.      Upon conviction of the offenses set forth in Count One, the defendant,

                                 MICHAEL BARRY CARTER,

shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(2), any property, real or

personal, which constitutes or is derived from proceeds traceable to a violation of Count One.

The property to be forfeited includes, but is not limited to, at least $4,355,110.39 in U.S.

currency in the form of a money judgment.

                                         Substitute Assets

       3.      If, as a result of any act or omission of the defendant, any of the property

described above as being subject to forfeiture:

               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with, a third party;

               c.      has been placed beyond the jurisdiction of the court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property which cannot be divided

                       without difficulty;




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it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C.

§ 982(b)(1) and 28 U.S.C. § 2461(c), to seek forfeiture of any other property of said defendant

up to the value of the forfeitable property described above.



18 U.S.C. §§ 982(a)(2) and (b)(1)
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)




            15 2020
Date: June ____,                              _______________________
                                              _________________________
                                              R b t K.
                                              Robert K Hur
                                                        H
                                              United States Attorney




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